                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 COLUMBIA DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       CASE NO. 1-11-00010
                                                     )       JUDGE SHARP
JERAMIE HILL [4]                                     )
                                                     )

                                            ORDER


       Pending before the Court is Defendant’s Rule 35 Motion to Correct Sentence (Docket

No. 252).

       The motion is GRANTED in part. The Judgment (Docket No. 246) entered on September

11, 2014, is corrected. Mr. Hill shall report to the institution designated by the Bureau of Prisons

by 2:00 p.m. on October 6, 2014.

       IT IS SO ORDERED.




                                                    KEVIN H. SHARP
                                                    UNITED STATES DISTRICT JUDGE




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